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                                                                                                               EXHIBIT
                                                                                                                590

             From-             Shauna Geraghty <shauna@talkdesk.com> on behalfof
                               Shauna GeraglUy <shauna@talkdesk.com>
            Sent:              Saturday, Septembers, 2018 7:14 AM
            To:                Tiago Paiva, Talkdesk <Tiago Paiva, Talkdesk <tiago@talkdesk.com»
            Subject:           Re: Mike Tews feedback


           Yes def. he'll go anywhere mike goes

           Sent from my iPhone

           On Sep 7,2018, at 10:00 PM,Tiago Paiva, Talkdesk <tiago@talkdesk.com> wrote:


                  Can we get him?

           On Fri, Sep 7, 2018 at 2:28 PM Shauna Geraghty <shauna@talkdesk.com> wrote:

                      1 liked his answer
                      Forwarded message
           From: Mike Strahan <mgstrahan@.gmail.com>
           Date: Fri, Sep 7,2018 at 5:26 PM
           Subject: Re: Mike Tews feedback
           To: <shauna@talkdesk.com>
           Cc: <ralDh.manno@gmail.com>. <tavlor.knudson@talkdesk.com>. <lisa.kellv@talkdesk.com>



           Thanks Shauna!
           I watched Mike's video, he did come across a little awkward. He seemed uncomfortable with the
                   format, as we never use video within our team. Despite the awkwardness Mike would be
                   a great hire for this team. He is a plug and play account executive, knows the territory
                   and partners, and is a fearless prospector. I originally hired Mike from Avaya 18 months
                   ago and have been in the field with him a dozen times and he has always come across as
                      confident and knowledgeable in person. His speaking skills do require some polish, as
                      he is not someone I would have get on stage and do a 30 slide,60 minute presentation,
                      today. I have seen him present and close business in a traditional boardroom, and have
                      100% confidence in him in that setting.

          Some other details on Mike:


                           • YTD Mike has generated $1.1M in his territory for Genesys and is at —80% of
                           his annual quota Y TD.
          • Mike is #2 on the Mid-Market team nationwide for revenue.
          • Mike sold our second largest deal this year, Varsity Tutors. This customer regularly praises
                           Mike to me.
          • He has done all of this with the company's lowest graded sales engineer resource supporting
                           him.
          • He has done all of this with what was a lukewarm territoiy where his predeces.sor only reached
                           35% quota.




ATTORNEYS EYES ONLY                                                                                                   ID 002197
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                     Getting Mike would be a win for Taikdesk and a loss for Genesys.

          I hope this helps, please let me know if you get any further feedback or if you have any other
                   questions.

           Thanks!


          -Mike
          317-418-9335



          On Fri, Sep 7, 2018 at 6:45 PM Shauna Geraghty <shauna@talkdesk.com> wrote:

                     Team,
                     We inter\'iewed Mike today and would like to provide an update. We had some
                     concerns about his presentation (missed the mark on a few prompts, appeared anxious
                     and distracted).

          Here is the preso:
          .zoom_0.mp4
          We value your insight on referrals and would love your thoughts prior to moving to next steps.

          Thanks!


          Shauna



                     Shauna Geraghty

                     Head of Talent


                     530-574-1446


                     535 Mission Street. 12th Floor.


                     San Francisco. CA 94105. USA

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          Thanks!


          -Mike




AHORNEYS EYES ONLY                                                                                         ID 002198
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                      Shauna Geraghty

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                      San Francisco. CA 94105. USA

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           Tiago Paiva




ATTORNEYS EYES ONLY                                                                      ID 002199
